      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 1 of 27




1    Steven Martin Aaron, Esq. (MO Bar No. 41653)
     Admitted Pro Hac Vice
2    Gregory T. Wolf, Esq. (MO Bar No. 43717)
     Admitted Pro Hac Vice
3    DENTONS US LLP
     4520 Main Street, 11th Floor
4
     Kansas City, MO 64111-7700
5    Telephone: (816) 460-2400
     Facsimile: (816) 531-7545
6    steven.aaron@dentons.com
     gregory.wolf@dentons.com
7
     Martin L. Welsh, Esq.
8    Nevada State Bar No. 8720
     LAW OFFICE OF HAYES & WELSH
9
     199 North Arroyo Grande Blvd., Suite 200
10   Henderson, Nevada 89074
     Telephone: (702) 434-3444
11   Facsimile: (702) 434-3729
     mwelsh@lvlaw.com
12
     Attorneys for Defendant
13   CREDIT PAYMENT SERVICES, INC.
14
                             IN THE UNITED STATES DISTRICT COURT
15                                    DISTRICT OF NEVADA

16   FLEMMING KRISTENSEN, individually,      ) Case No. 2:12-CV-00528-APG (PAL)
     and on behalf of a class of similarly   )
17   situated individuals,                   )
                            Plaintiff,       )   DEFENDANTS’ OPPOSITION TO
18           v.                              )   PLAINTIFF’S MOTION FOR CLASS
                                             )   CERTIFICATION
19
     CREDIT PAYMENT SERVICES, INC.,          )
20   a Nevada corporation, f/k/a             )
     MYCASHNOW.COM INC., ENOVA               )
21   INTERNATIONAL, INC., an Illinois        )
     corporation, PIONEER FINANCIAL          )
22   SERVICES, INC., a Missouri corporation, )
     LEADPILE LLC, a Delaware limited        )
23   liability company, and CLICKMEDIA, LLC )
     d/b/a NET1PROMOTIONS LLC, a             )
24   Georgia limited liability company,      )
25                                           )
                    Defendants.              )
26                                           )

27
28
                                                    1
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 2 of 27




1

2                   COME NOW Defendants Credit Payment Services, Inc. f/k/a MyCashNow.com, Inc.
3    (“CPS”), Pioneer Financial Services, Inc. (“Pioneer”), LeadPile LLC (“LeadPile”), and Enova
4    International, Inc. (Enova) (collectively, “Defendants”), by and through their respective counsel and
5    hereby submit this Opposition to Plaintiff’s Motion for Class Certification (Dkt. 113).
6                   I.     Introduction
7                   The Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”) was enacted to

8    protect against “the proliferation of intrusive, nuisance calls.” Mimms v. Arrow Fin. Servs., 132 S.
9    Ct. 740, 744 (2012). But as the Wall Street Journal recently reported, “the law has found a lucrative
10
     new life as a tool for plaintiffs’ attorneys.” Ryan Knutson, “Curbs on Cellphone Calls Pay Off for
11
     Lawyers,” Wall St. J., Nov. 17, 2013, at 1 (Exhibit 1 to the Declaration of Steven Martin Aaron (the
12
     “Aaron Decl.”), attached hereto as Exhibit A1). Indeed, since 2011, “TCPA cases in federal court
13
     exploded to over 350.” Id. at 2. Stated another way, “[f]our-fifths of all federal TCPA cases filed
14
     in or transferred to federal court have occurred in the past five years.” Id. at 1. “Like many statutes
15

16   . . . remedial laws can themselves be abused and perverted into money-making vehicles for

17   individuals and lawyers. This may be one of those cases.” Saunders v. NCO Fin. Sys., Inc., 2012

18   WL 6644278, at *1 (E.D.N.Y. Dec. 19, 2012) (plaintiff’s case failed under the TCPA because he
19   gave “prior express consent” to be contacted by defendant).
20
                    Here, Plaintiff brings yet another TCPA case. But Plaintiff does not even sue the entity that
21
     sent the complained-of text message. Nor does Plaintiff sue the entity that provided his phone
22
     number to the entity that sent the text message. Instead, Plaintiff sues five entities that are one, two,
23
     and even three layers removed from the transmission of the message. In addition to being several
24
     layers removed, these entities did not control, contribute, or even know of the text message’s
25

26
        1
         Hereafter exhibit references to exhibits attached in support of this opposition brief refer to exhibits attached to the
27      Aaron Decl., attached hereto as Exhibit A.
28
                                                                   2
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 3 of 27




1    existence. Plaintiff’s only tenuous connection to Defendants is the purposefully convoluted and

2    confused allegation that all Defendants worked with several other non-parties in a confined and
3    seamless conspiracy. Class action discovery, however, has debunked this myth. What is worse,
4
     class action discovery has also unearthed evidence that all, if not a vast majority, of the recipients
5
     of the complained-of text message first consented to receive the text – thus, as a threshold matter,
6
     there is no underlying violation of the TCPA. Regardless, with little more than a single text
7
     message and a factually unsupported conspiracy theory, Plaintiff has filed a motion for class
8
     certification (“Motion”) asking the Court to certify a class of nearly 100,000 unnamed, and likely
9
10   unknowable, individuals. Plaintiff’s tenuous allegations, however, cannot withstand the rigorous

11   class certification analysis, and his motion should be denied because he has failed to demonstrate

12   that the putative class merits certification based on the strictures of Federal Rule of Civil Procedure
13   23.
14
                    II.   Factual Background
15
                    Plaintiff alleges that non-parties AC Referral Systems LLC (“AC Referral”), Identity
16
     Defender, Inc. (“Identity Defender”) and 360 Data Management, LLC (“360 Data”), caused
17
     unsolicited text messages to be delivered to Plaintiff and the putative class members.                         See First
18
     Amended Complaint, Doc. 35, ¶ 27; Motion for Class Certification, Doc. 113, Exhibit C. Based on
19
20   receipt of these text messages, Plaintiff seeks to certify a class of “[a]ll individuals who were sent a

21   text message from telephone numbers ‘330-564-6316,’ 808-989-5389,’ and ‘209-200-0084’ from

22   December 5, 2011 through January 11, 2012.” Plaintiff seeks relief on behalf of the putative class
23   pursuant to the Telephone Consumer Protection Act, 47 U.S.C. § 2272, et seq. See Plaintiff’s
24   Motion for Class Certification, Doc. 113, ECF p. 4.
25

26      2
          In relevant part, the TCPA makes it unlawful for a person to (1) send a text, (2) without the prior express consent
        of the recipient, (3) using an automatic telephone dialing system; (4) to any cellular telephone device. See 47 U.S.C.
27
        § 227(b)(1).
28
                                                                  3
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 4 of 27




1                   Plaintiff’s allegations are purposefully confusing and convoluted in order to obscure the fact

2    that he cannot connect any of the class allegations to Defendants. The entirety of Plaintiff’s basis
3    for certifying a class against Defendants is that lenders CPS, Pioneer and Enova allegedly each
4
     separately contracted with LeadPile to purchase leads from LeadPile’s database for CPS’s,
5
     Pioneer’s and Enova’s respective online payday loan products.3 See First Am. Comp., Doc. 35, ¶
6
     28. Plaintiff admits that none of Defendants physically transmitted any text message to Plaintiff or
7
     the putative class members. Instead, Plaintiff’s entire theory of liability against Defendants is based
8
     on his conclusory allegation that Defendants’ alleged agents sent unsolicited text messages to
9
10   putative class members. See First Am. Comp., Doc. 35, ¶ 35; Exhibit 2, Plaintiff’s Responses to

11   Defendant CPS First Set of Requests for Admission, Request for Admission 1. Plaintiff has

12   continued to proceed with this theory of liability even though each Defendant has denied hiring any
13   party to transmit unsolicited text messages on its behalf. See Exhibit 3, Defendant CPS’ Responses
14
     to Plaintiff Flemming Kristensen's First Interrogatories, dated December 12, 2012, Interrogatory 11;
15
     CPS’ Answer to First Amended Complaint, Doc. 38, ¶ 27; Pioneer’s Answer to First Amended
16
     Complaint, Doc. 50, ¶ 27; Enova’s Answer to First Amended Complaint, Doc. 69, ¶ 27; and
17
     Exhibit 4, Defendant LeadPile’s Objections and Answers to Plaintiff's First Interrogatories, dated
18
     August 16, 2013, Response to Interrogatory 6. Plaintiff’s Motion for Class Certification fails to
19
20   provide any further connection between the alleged harms incurred by the putative class and

21   Defendants’ actions. Instead, Plaintiff has refused to file suit against AC Referral, which sent the

22   text messages in question, or 360 Data, the company that provided AC Referral with the list of
23   phone numbers.
24                  In his Motion for Class Certification, Plaintiff states that “not a single Defendant has
25

26
        3
         As further evidence of Plaintiff’s confused allegations, Pioneer does not offer payday loan products or services.
27      Therefore, Pioneer would not engage in a conspiracy to solicit payday loan applications, as a matter of fact.

28
                                                                4
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 5 of 27




1    provided any evidence suggesting they obtained consent from any Class Member, even though

2    Plaintiff has requested it through discovery.” Doc. 113, p 16. If he wanted evidence regarding
3    consent, Plaintiff should have sought additional discovery from the entity that sent the texts and the
4
     entity that provided the information of the individuals who received the texts. Further, if he wanted
5
     evidence regarding consent, Plaintiff should have investigated his own online behavior, or, at the
6
     very least, preserved that information so that Defendants could investigate. By his own admission,
7
     Plaintiff has failed to perform searches on his laptop or desktop for information regarding consent
8
     and has failed to preserve information on his laptop hard drive and in his email accounts. See
9
10   Deposition of Flemming Kristensen taken January 21, 2014 (“Kristensen Dep.”), 83:7-15, 147:4-9,

11   148:11-18, 167:3-16, 148:19-22, 209:9-11 (Kristensen Dep. transcript attached as Exhibit 5).

12   Despite his own failures, Plaintiff sued Defendants who are wholly removed from any aspect of the
13   complained-of text message, yet is surprised to find no evidence regarding the text message.
14
                    Meanwhile, Defendants have conducted class certification discovery, seeking discovery
15
     from the entity that sent the text message and the entity that provided the list that contained
16
     Plaintiff’s phone number. While AC Referral, 360 Data, and Identity Defender are no longer
17
     actively in operation and no longer retain documents or information from the complained-of time
18
     period, both Michael Ferry as principal and corporate representative for 360 Data and Identity
19
20   Defender, and James Gee as principal and corporate representative for AC Referral, testified to one

21   single course of business – they only sent text messages to those individuals who consented to

22   receive text messages. See Deposition of AC Referral and James Gee taken January 23, 2014 (“Gee
23   Dep.”), 23:19-21 (Gee Dep. Transcript attached as Exhibit 6); Deposition of 360 Data, Identity
24   Defender, and Michael Ferry taken January 10, 2014 (“Ferry Dep.”), 63:9-64:20 (Ferry Dep.
25
     transcript attached as Exhibit 7).       During the time they were working together, Ferry, Gee and
26
     their respective entities received only a handful of complaints from parties claiming to have
27
28
                                                          5
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 6 of 27




1    received “unsolicited” text messages. Gee Dep. 24:3-11, 128:11-15 (Exhibit 6); Ferry Dep. 68:10-

2    13 (Exhibit 7). The testimony given by Gee and Ferry is especially significant given that they and
3    their entities are the only parties involved who do not have a monetary interest in the outcome of
4
     these proceedings. Gee and Ferry’s testimony is supported by an April 2012 email exchange,
5
     which demonstrates that, while they were still in operation, AC Referral and 360 Data could supply
6
     opt-in information, including the date and website through which an individual consented to
7
     receiving the text messages, within hours of receiving an inquiry. See Gee Dep. 129:15-23 (Exhibit
8
     6), Dep. Exhibit 38, April 2, 2012 email from Dawn Landers at Click Media to Jim Gee (Exhibit 8).
9
10   Therefore, while the opt-in information may not exist today, years after the fact, this email supports

11   both Ferry and Gee’s testimony that this opt-in information existed and could quickly be produced

12   to parties who requested it in a timely manner. See Gee Dep. 128:11-129-23 (Exhibit 6), Dep.
13   Exhibit 38 (Exhibit 8).
14
                    Indeed, the only evidence that consent was not received is Plaintiff’s self-serving testimony
15
     that it is his standard operating procedure to never opt-in to receiving solicitations. Kristensen Dep.
16
     28:2-17 (Exhibit 5).           Yet, by Plaintiff’s own admission, he has received between 15 and 20
17
     “unsolicited” text messages regarding different subject matters. Kristensen Dep. 152:13-15; 49:17-
18
     18 (Exhibit 5).           Significantly, Plaintiff testified that he has taken no steps to preserve any
19
20   information in his five email accounts, and has taken no steps to preserve any information stored in

21   his desktop computer or laptop computer hard drives and has in fact replaced his laptop hard drive

22   and failed to disable the auto-delete function in his email accounts. See Kristensen Dep. 146:11-
23   148:3, 148:19-22, and 167:3-16 (Exhibit 5).               Indeed, the only preservation step taken was
24   preserving the complained-of text message, along with nine other, unrelated “unsolicited” text
25
     messages. See Kristensen Dep. 48:21-49:10 (Exhibit 5).
26

27
28
                                                              6
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 7 of 27




1                   As demonstrated in the arguments that follow, Plaintiff has failed to meet his burden to

2    certify the putative class and the testimony of Gee and Ferry further dooms Plaintiff’s quest to
3    certify the putative class.
4
                    II.    Legal Standard
5
                    To prevail on a motion for class certification, Plaintiff must establish all requirements set
6
     forth in Federal Rule of Civil Procedure 23(a) (numerosity, commonality, typicality and
7

8    adequacy). Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). The requirements of Rule

9    23(a) are not judged by a pleading standard; rather, Plaintiff must prove his compliance with each

10   of the specific requirements of Rule 23(a). Id. Plaintiff must also satisfy, through evidentiary
11   proof, at least one of the provisions of Rule 23(b). Id.; Mazza v. Am. Honda Motor Co., Inc., 668
12   F.3d 581, 588 (9th Cir. 2012). The burden to prove the propriety of class certification rests with
13
     Plaintiff. Id. (“The party seeking class certification has the burden of affirmatively demonstrating
14
     that the class meets the requirements of Federal Rule of Civil Procedure 23.”). Certification is
15
     proper only if after “rigorous analysis,” which may entail some overlap with the merits of
16
     Plaintiff’s claims, the prerequisites of Rule 23 are satisfied. Wal-Mart Stores, Inc. v. Dukes, 131 S.
17

18   Ct. 2541, 2551 (2011).

19                  III.   Argument and Analysis

20                         A.      Ascertainability

21                  “Before a class may be certified, it is axiomatic that such a class must be ascertainable.”
22   Vandervort v. Balboa Capital Corp., 287 F.R.D. 554, 557 (C.D. Cal. 2012). A class cannot be
23
     certified if a plaintiff has not “establish[ed] an objective way to determine” who is a member of the
24
     class.” Williams v. Oberon Media, Inc., 468 F. App’x 768, 770 (9th Cir. 2012) (affirming denial of
25
     class certification for lack of ascertainability); see also Gannon v. Network Tel. Servs., Inc., 2013
26
     WL 2450199, *2 (C.D. Cal. June 5, 2013) (“A class is identifiable and ascertainable if it is
27
28
                                                              7
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 8 of 27




1    ‘administratively feasible for the court to ascertain whether an individual is a member.’”). Where

2    the determination of who is in the class would require the court to “delve into the issues of
3    liability,” the class is not ascertainable, and class certification is improper. Vandervort, 287 F.R.D.
4
     at 557-58.
5
                    Here, the proposed class is not ascertainable because this Court would need to hold mini-
6
     trials to determine which individuals, if any, consented to receive the complained-of text messages.
7
     See, e.g., Gannon v. Network Tel. Servs., Inc., 2013 WL 2450199, at *2-3 (C.D. Cal. June 5, 2013)
8
     (denying class certification for lack of ascertainability where the facts of the case would require the
9
10   court to hold “mini-trials” to determine who consented to receiving text messages); Vandervort,

11   287 F.R.D. at 558-59 (C.D. Cal. 2012) (class was unascertainable because the proposed class

12   definition required determining who consented to receive advertisements).
13                  Aside from Plaintiff’s uninvestigated belief that he did not consent to receive any text
14   message solicitation, all other evidence establishes that AC Referral only sent text messages to
15   those who opted in. AC Referral only sent text messages to a list of individuals provided by 360
16   Data. See Gee Dep. 18:3-21 (Exhibit 6). 360 Data only received this information from list owners
17   and data brokers who had detailed opt-in information including, the date of consent, the name of
18   individual, the individual’s IP address, and the website through which consent was obtained. See
19   Ferry Dep. 143:21-25, 63:9-64:20 (Exhibit 7). Additionally, 360 Data independently checked that
20   information against its own suppression lists (i.e. lists of individuals who opted-out of receiving
21   messages) and any suppression lists provided by Click Media. See Ferry Dep. 67:13-19, 69:13-
22   70:2, and 118:13-23 (Exhibit 7). And, as an added precaution, AC Referral used each list only
23   once. Gee Dep. 60:21-61:1, 104:23-105:6 (Exhibit 6). Therefore, for an individual to receive a
24   second text message, that individual would need to expressly opt-in a second time. Finally,
25   Plaintiff’s uninvestigated claim that he never consented to receive a single solicitation is
26   unreliable, when by his own admission, he has received between 15 and 20 “unsolicited” text
27   messages regarding several different subject matters.
28
                                                             8
     81825678\V-1
      Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 9 of 27




1                   Even assuming members of the purported class had a claim under the TCPA (which
2    Defendants maintain they do not), Plaintiff has offered no meaningful method to actually locate
3    any class member. Instead of providing a plan to identify the class members, Plaintiff instead
4    invokes the general and unsatisfying assertion that the class members “can be readily
5    ascertained.” Pl. Mot. for Class Certification, Doc. 113, p. 11. How? Plaintiff does not say.
6    Therefore, not only does each class member’s consent (or lack thereof) pose significant
7    administrative hurdles for the Court, but also the class members’ very identities make
8    acertainability unfeasible.
9                          B.      Commonality4

10                  Plaintiff wholly fails to demonstrate that there are questions of law or fact common to the
11   class. See Fed. R. Civ. P. 23(a)(2). A common question of law “does not mean merely that [the
12
     class members] have all suffered a violation of the same provision of law.” Wal-Mart Stores, Inc.
13
     v. Dukes, 131 S. Ct. 2541, 2551 (2011). Rather, the class claims must depend on a “common
14
     contention” that is “capable of class wide resolution - which means that determination of its truth
15
     or falsity will resolve an issue that is central to the validity of each one of the claims in one
16
     stroke.” Id. “What matters to class certification […] is not the raising of common ‘questions’ -
17

18   even in droves - but, rather, the capacity of a classwide proceeding to generate common answers

19   apt to drive the resolution of the litigation.” Id. (emphasis in original).

20                  Plaintiff claims the common questions in this case are:
21
                           (i) whether the equipment used to send the text messages satisfies the statutory
22                         definition of an ATDS; (ii) whether Defendants can be held vicariously liable
                           for the allegedly unauthorized text messages, and (iii) whether Defendants can
23                         establish the class members provided prior express consent.
24

25
      4
26       Defendants do not challenge Plaintiff’s claim that he meets the numerosity requirement. Demonstrating
      numerosity alone, however, does not merit class certification. All requirements of Rule 23(a) and at least one
27    requirement of Rule 23(b) must be met to certify the class. Behrend, 133 S. Ct. at 1432.

28
                                                              9
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 10 of 27




1    Pl. Mot. for Class Certification. Doc. 113, p. 14.

2                   Defendants dispute that Plaintiff can establish commonality for any of these questions.
3                                  1.      AC Referral did not use an ATDS to send the complained-of text
4                                          message, and use of an ATDS alone is insufficient to establish
                                           commonality.
5
                    First, Plaintiff’s allegation that all putative class members received a text from an automatic
6
     telephone dialing system (“ATDS”) utilized by AC Referral is insufficient, alone, to certify a class
7
     based on commonality. See Hicks v. Client Servs., Inc., No. 07-61822-civ, 2008 WL 5479111 (S.D.
8
     Fla. Dec. 11, 2008) (noting that Plaintiff alleged a common question that an ATDS was utilized, but
9
10   nonetheless refusing to certify the class because other individual issues predominated). Further, it

11   does not appear AC Referral used an ATDS. An ATDS is a piece of equipment “which has the

12   capacity-- (A) to store or produce telephone numbers to be called, using a random or sequential
13   number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1); see also Satterfield v.
14
     Simon & Schuster, Inc., 569 F.3d 946, 950-51 (9th Cir. 2009). Gee has testified that the program
15
     used by AC Referral to transmit the text messages did not have the capacity to store or produce
16
     phone numbers to be called. Gee Dep. 130:13-131-24 (Exhibit 6). Instead, the software required
17
     human intervention. Gee Dep. 131:10-18. Each time Gee wanted to send a text message he had to
18
     copy and paste lists of phone numbers into a box in the program and, after typing the message, hit
19
20   send. See Gee Dep. 56:9-57:14 (Exhibit 6).

21                                 2.         Defendants are not vicariously liable for the actions of AC
                                              Referral, and there is no commonality as to vicarious
22                                            liability.
23                  Defendants likewise challenge Plaintiff’s assertion that there are common issues regarding
24   Defendants’ vicarious liability to the putative class members for the alleged text messages. Plaintiff
25
     claims that “the Court’s determination of Defendants’ liability will focus solely on the Defendants’
26
     conduct regarding the text message campaign […]” See Pl. Mot. for Class Certification, Doc. 113,
27
28
                                                              10
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 11 of 27




1    ECF p. 17. Plaintiff’s own theories of Defendants’ alleged conduct, however, contradict Plaintiff’s

2    assertion that the vicarious liability question is a question common to all Defendants.
3                   In order to prove that Defendants are vicariously liable for the transmission of the text
4
     messages, Plaintiff would need to demonstrate that each Defendants controlled, or had the right to
5
     control, the manner and means of the text message campaign conducted by AC Referral, or
6
     alternatively that each Defendant had apparent authority. See Thomas v. Taco Bell Corp., 879 F.
7
     Supp. 2d 1079, 1084-1085 (C.D. Cal. 2012) (to succeed in vicarious liability theory, plaintiff must
8
     demonstrate that defendants “controlled or had the right to control [the party who transmitted the
9
10   text] and, more specifically, the manner and means of the text message campaign they conducted”);

11   and FCC Declaratory Ruling 13-54, 28 F.C.C. Rcd. 6574, 6592 (2013) (indicating that an apparent

12   authority may be supported by evidence that “seller allows the outside sales entity access to
13   information and systems that normally would be within the seller’s exclusive control…the authority
14
     to use the seller’s trade name, trademark and service mark ….that the seller approved, wrote or
15
     reviewed the outside entity’s telemarketing scripts… [or that] the seller knew (or reasonably should
16
     have known) that the telemarketer was violating the TCPA on the seller’s behalf and the seller
17
     failed to take effective steps within its power to force the telemarketer to cease that conduct.”).5
18
                    However, according to Plaintiff’s own allegations, the conduct of each Defendant varies
19
20   greatly, destroying commonality as to any direct agency argument.                          For example, LeadPile’s

21   alleged conduct of acquiring leads from consumers interested in receiving loan information varies

22   greatly from CPS, Pioneer, and Enova’s alleged conduct of simply receiving leads from LeadPile.
23   See Pl. Mot. for Class Certification, Doc. 113, p. 4.                       These Defendants’ actions are also
24   significantly different from the actions of Defendant Click Media who allegedly collected
25

26      5
          While not directly relevant for this brief, Defendants note that there is a dispute regarding what deference courts
        owe the FCC’s interpretation of agency principles under federal common law, which is arguably beyond its role of
27
        simply interpreting the TCPA
28
                                                                 11
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 12 of 27




1    information from putative class members in order to provide leads to LeadPile’s marketplace. See

2    Plaintiff’s Motion for Class Certification, Doc. 113, ECF p. 4. Because each Defendant’s conduct
3    varies, the Court will have to conduct individualized inquiries into each Defendant’s alleged
4
     conduct in order to determine whether each Defendant may be vicariously liable to each putative
5
     class member under the TCPA. Such individual inquiry does not merit class certification.
6
                    In addition, to the extent Plaintiff relies upon apparent authority to establish vicarious
7
     liability, this analysis is heavily dependent upon the experience of each individual consumer. For
8
     instance, Plaintiff received a text message that only identified a web address – lend5k.com. (Dep.
9
10   Ex. 18 (Exhibit 9). The text message did not identify any Defendant. Id. Plaintiff did not follow

11   the link for lend5k.com. Kristensen Dep. 73:7-9 (Exhibit 5). Plaintiff, therefore, never saw the

12   name of any Defendant at or near the time he received the text message. Other putative class
13   members (how many, we do not know) followed the link for lend5k.com. Where they were each
14
     redirected and what web site they each saw, we do not know. See Gee Dep. 68:2-14, 124:5-22,
15
     125:3-126:2, 165:14-18 (Exhibit 6). At least 3,370 putative class members somehow made their
16
     way to a Click Media operated website after receiving the text, where they entered their personal
17
     consumer information to apply for a loan. Dep. Ex. 26, Declaration of Shawn C. Davis in Support
18
     of Plaintiff's Motion for Class Certification dated October 31, 2013, ¶ 26 (Exhibit 10). At least
19
20   212 members of the putative class were ultimately sent to LeadPile’s marketplace where their

21   “lead” was purchased by a lender (although not necessarily CPS, Enova or Pioneer).6 Dep. Ex. 27,

22   analysis performed by Shawn Davis (Exhibit 11). In the end, each recipient of the complained-of
23   text message had different interactions and saw different information after receiving the text
24   message. These individual experiences determine whether each member of the class can argue that
25

26   6
       The discrepancy between the numbers for Click Media and LeadPile also demonstrates that Click Media was not
27   acting as an agent for LeadPile or the lender Defendants. Rather, Click Media was selling a product—lead data—a
     fraction of which was bought by LeadPile.
28
                                                            12
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 13 of 27




1    one or more of the Defendants gave AC Referral apparent authority to send him or her the

2    complained-of text message.
3                   Further, to the extent Plaintiff could prove an agency relationship existed between AC
4
     Referral and Defendants (which Defendants maintain he cannot), to attribute liability to each
5
     Defendant, Plaintiff would need to establish that AC Referral was acting in the scope of its
6
     authority when it sent the text messages. See Uesco Industries, Inc. v. Poolman of Wisconsin, Inc.,
7
     993 N.E.2d 97, 112 (Il. App. 2013) (holding a business could not be held vicariously liable for a
8
     violation of the TCPA that occurred when an advertiser exceeded the scope of its authority by
9
10   sending faxes to recipients outside of the type of recipients that the business had contracted with

11   advertiser to market its services to). However, the contracts in place between AC Referral and

12   Click Media during the applicable time frame specifically required AC Referral to comply with all
13   Federal, state and local regulations, including but not limited to the TCPA. See Dep. Exhibits 9,
14
     ¶7 (Exhibit 12), and 31, ¶3 (Exhibit 13).7
15
                                   3.       The putative class members’ consent to receive text messages
16                                          requires individualized inquiry.

17                  Plaintiff’s failure to demonstrate commonality on the question of class member’s consent to
18   receive the text messages, perhaps more so than individual questions regarding the ATDS or
19   Defendants’ liability, is the fatal flaw in Plaintiff’s Motion for Class Certification. There is no
20

21
     7
          June 28, 2011 “Smart Credit Solution” Publishing Agreement between Click Media and AC Referral (Dep. Exhibit 9)
22       (Exhibit 12 hereto):
             “7. All Affiliates and their Indirect Affiliates are responsible for complying with all federal, state, and local rules
23           and regulations governing all of their marketing activities, including but not limited to the Telephone Consumer
             Protection Act (“TCPA”)and Federal Communications Commission rules implementing the TCPA. Affiliate
24           hereby understands and agrees that the TCPA makes it unlawful to use any automatic telephone dialing system to
             make any call or send any text message to any telephone number assigned to a cellular telephone service, unless
25           the call is made for emergency purposes or with the prior express consent of the called party…”
     December 22, 2011 “Alliance Capital” Publishing Agreement between Click Media and AC Referral (Dep. Exhibit 31)
26
     (Exhibit 13 hereto):
27           “3. SMS Messaging: Publisher and its Affiliates warrant that all traffic sent to Click Media’s offer and all
             messages sent by Publisher and its affiliates, via SMS messaging, are in compliance with all Federal, State and
28
                                                                    13
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 14 of 27




1    question that Plaintiff has wholly failed to establish that there is class commonality with regard to

2    whether class members provided express consent to receive the text messages at issue. Numerous
3    courts have recognized that claims under the TCPA require individual inquiries regarding whether
4
     class members consented to the receipt of the text messages at issue. See, e.g., Balthazor v. Centr.
5
     Credit Servs., Inc., No. 10-62435, 2012 WL 6725872 (S.D. Fla. Dec. 27, 2012) (resolution of each
6
     class member’s TCPA claim would necessarily involve an individual assessment of whether each
7
     plaintiff consented to receiving calls); Hicks, 2008 WL 5479111 (class certification is improper
8
     because “consent is an issue that would have to be determined on an individual basis at trial.”);
9
10   Conrad v. Gen. Motors Acceptance Corp., 283 F.R.D. 326, 330 (N.D. Tex. 2012) (denying motion

11   to certify TCPA class because “the consent issue would necessitate individual inquiries regarding

12   each putative class member’s account and the circumstances surrounding each call or contact.”).
13                  In reply to Click Media’s Opposition to Class Certification, Plaintiff claims “[h]ypothetical
14
     arguments about consent are insufficient as a matter of law to defeat class certification in the Ninth
15
     Circuit.” See Doc. 135 at ECF p. 6 (citing Meyer v. Portfolio Recovery Associates, LLC, 707 F.3d
16
     1036, 1043 (9th Cir. 2012)). Plaintiff’s reliance on Meyer is misplaced. In Meyer, the district court
17
     only granted provisional certification of the class pursuant to Rule 23(b)(2) in order to enter a
18
     preliminary injunction. 707 F.3d at 1043. Individualized issues regarding each putative class
19
20   member’s consent were not at issue in Meyer because the court was only concerned with classwide

21   injunctive relief - not individual monetary relief based on statutory damages. See id. at 1040.

22                  Plaintiff’s putative class is more akin to the proposed class in Balthazor. In that case, the
23   court refused to certify a Rule 23(b)(3) TCPA class because resolution of each class member’s
24   TCPA claim would necessarily involve an individual assessment of whether each plaintiff
25
     consented to receiving calls. 2012 WL 6725872. The Balthazor court reasoned that while the
26

27
            local regulations, including but not limited to the Telephone Consumer Protection Act of l991(TCPA)…”
28
                                                               14
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 15 of 27




1    defendant ultimately will bear the burden of demonstrating consent at trial, “at the class

2    certification stage, the burden is on the Plaintiff to establish the Rule 23 factors” including whether
3    consent issues will defeat commonality. Id. at *4. The court refused to certify the class because the
4
     plaintiff could not articulate why consent would not be an individualized issue if the class
5
     proceeded to trial. Id. See also Hicks, 2008 WL 5479111, *8 (refusing to certify the class even
6
     though defendant did not present evidence of consent at the class certification stage because
7
     plaintiff has the burden of demonstrating Rule 23(a) standards and plaintiff could not “describe how
8
     she intends [to prove that no class members consented to receiving messages] without the trial
9
10   degenerating into mini-trials on consent of every class member.”).

11                  Plaintiff’s own evidence demonstrates that will be an individualized inquiry.   Plaintiff

12   claims that he never consented to receive such messages. See First Am. Comp., Doc. 35, ¶ 39. AC
13   Referral and 360 Data, however, assert that all individuals to whom AC Referral sent text messages
14
     consented to receive such messages. See Decl. of J. Gee, Doc. 113, Exhibit C, ¶ 9; Ferry Dep. 63:9-
15
     64:20 (Exhibit 7). In fact, members of the putative class may have provided consent via hundreds
16
     of different websites. See Ferry Dep. 21:25 and 144:16-22. 360 Data received the lists of consumer
17
     phone numbers it provided to AC Referral from various list owners and data-brokers. See Ferry
18
     Dep. 65:11-18 (Exhibit 7). The list owners and data brokers in turn received their information from
19
20   possibly hundreds of various websites the consumers had visited, presumably each with their own

21   privacy policies and opt-in settings. See Ferry Dep. 143:21-144:24 (Exhibit 7). Courts in this

22   circuit have held that “class certification is warranted only when the ‘unique facts’ of a particular
23   case indicate that individual adjudication of the pivotal element of prior express consent is
24   unnecessary.” Connelly v. Hilton Grand Vacations Co., LLC, ---F.R.D.---, 2013 WL 5835414, *2
25
     (S.D. Cal. 2013) (citing Gene & Gene LLC v. BioPay LLC, 541 F.3d 318, 326 (5th Cir. 2008)). In
26
     Connelly, the court denied class certification because the putative class members’ interactions with
27
28
                                                           15
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 16 of 27




1    the defendant were “sufficiently varied to provide dissimilar opportunities for the expression of

2    consent.” Id. at *3. The court found that despite putative class members dealing with a common
3    entity, the fact that the class members’ cell phone numbers came from a variety of sources rather
4
     than under uniform circumstances warranted consent being evaluated on an individual basis. Id. at
5
     *4. The presence of potentially hundreds of different sources of consent similarly warrants an
6
     individualized inquiry in the instant case.
7
                    An individualized inquiry is also warranted by possible differences in 360 Data’s processes
8
     during the relevant time period. Plaintiff seeks to certify a class of individuals who allegedly
9
10   received test messages from AC Referral between December 5, 2011 and January 11, 2012. See Pl.

11   Mot. for Class Certification, Doc. 113, p. 4. Ferry, the principal of 360 Data and individual who

12   processed the information to ensure all parties had consented, suffered a series of strokes in early
13   December 2011. Ferry Dep. 105:8-10 (Exhibit 7). After his strokes Ferry was unable to work for
14
     months. See Ferry Dep. 107:4-12 (Exhibit 7). AC Referral continued to send messages to lists
15
     provided by Ferry pre-stroke for a period, but post-stroke others, including a girlfriend of Ferry,
16
     began sending the lists to AC Referral. See Gee Dep. 81:1-13 (Exhibit 6). Neither Gee nor Ferry
17
     can be certain how those individual(s) processed the lists post-stroke. See Gee Dep. 83:9-16
18
     (Exhibit 6); Ferry Dep. 148:13-23 (Exhibit 7). Plaintiff alleges he received a text message from AC
19
20   Referral on December 6, 2011. Plf. Mtn. for Class Certification, Doc. 113, p. 6. Accordingly,

21   Plaintiff’s information, may have been processed for consent in a different manner than those who

22   received text messages from AC Referral later in December 2011, after Ferry’s stroke.
23                  Plaintiff’s convoluted efforts to tie an allegedly unsolicited text message to Defendants will
24   not only be futile, but it will also involve a highly individualized inquiry. Even if the text message
25
     could be tied to any Defendant (which Defendants deny) the analysis necessary to do so would
26
     involve an individualized inquiry to determine whether each individual putative class member opted
27
28
                                                              16
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 17 of 27




1    in to receive text messages and how AC Referral and 360 Data allegedly received his or her phone

2    number. Plaintiff cannot establish commonality, his request to certify a class should be denied.
3                   C.     Typicality
4
                    To demonstrate typicality, Plaintiff must show that his claims are typical of the class. Fed.
5
     R. Civ. P. 23(a)(3). The test of typicality is whether other members have the same or similar injury,
6
     whether the action is based on conduct which is not unique to the named Plaintiff and whether other
7
     class members were injured by the same course of conduct. Ellis v. Costco Wholesale Corp., 657
8
     F.3d 970, 984 (9th Cir. 2011) (internal citation omitted). “Typicality refers to the nature of the
9
10   claim or defense of the class representative, and not to the specific facts from which it arose or the

11   relief sought.” Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992).

12                  Plaintiff baldly states that his claims are typical of the class because he received a text
13   message from the same phone number as some of the putative class members. Plaintiff, however,
14
     claims that he did not consent to receive such a text message. See First Am. Comp., Doc. 35, at ¶
15
     39. Plaintiff’s claims, therefore, are not typical of the putative class members who did consent to
16
     receive such messages. Plaintiff’s own analysis indicates that information for hundreds of those
17
     consumers who responded to the messages appeared in LeadPile’s database even before the
18
     messages were sent. See Deposition of Shawn Davis taken January 22, 2014 (“Davis Dep.”) 56:12-
19
20   21      (Davis Dep. transcript attached hereto as Exhibit 14) and Dep. Exhibit 27 (Exhibit 11).

21   Presumably, this information appeared in LeadPile’s databases because the consumers had

22   previously expressed interest in receiving information about pay day lending or other products.
23                  Likewise, AC Referral has asserted that, contrary to Plaintiff, the putative class members did
24   consent to receive text messages. See Decl. of J. Gee, Doc. 113, Exhibit C, ¶ 9; Gee Dep. 23:19-21
25
     (Exhibit 6). AC Referral’s assertions are supported by Ferry, the principal of 360 Data, the
26
     company from whom AC Referral received the list of consumer telephone numbers. Ferry Dep.
27
28
                                                              17
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 18 of 27




1    63:9-64:20 (Exhibit 7). 360 Data received the lists of consumer phone numbers from various list

2    owners or data brokers, who in turn received their information from possibly hundreds of websites
3    that the consumers had visited. See supra III.B. Ferry having been a part of the industry for 10
4
     years, worked with trusted, proven data-brokers and list managers. See Ferry Dep. 146:16-147:2
5
     (Exhibit 7). 360 Data received the information within one to three days of the consumers providing
6
     consent, or in some cases even in real time. Ferry Dep. 142:17-24 and 145:19-146:8 (Exhibit 7).
7
     Ferry would then distribute the lists of consumer phone numbers to entities like AC Referral within
8
     24 hours. Ferry Dep. 142:6-143:7 (Exhibit 7). While no longer available, Ferry maintains he only
9
10   sent AC Referral phone numbers for which he had detailed consent information, including the

11   website through which consent was obtained, the date of consent, and the name and IP address of

12   the consenting consumer.             See Ferry Dep. 63:9-64:20 (Exhibit 7).       Before    transmitting the
13   consumer phone numbers to others, Ferry would cross check the list of numbers against his own
14
     internal suppression list, i.e. a list of individuals who have indicated they would no longer like to
15
     receive text messages. Ferry Dep. 67:13-19, 69:13-70:2, and 118:8-14 (Exhibit 7). He would then
16
     also cross check the numbers against suppression lists provided by Click Media and others entity
17
     for whom AC Referral was attempting to generate leads. See Ferry Dep. 67:13-19, 69:13-70:2, and
18
     118:8-14 (Exhibit 7).
19
20                  Plaintiff’s claim that the text message he received violated his privacy is not typical of the

21   claims of the putative class members who either expressly consented to receive such text messages,

22   or did not object to receiving such messages. See, e.g. Forman v. Data Transfer, Inc., 164 F.R.D.
23   404, 404 (E.D. Pa. 1995) (refusing class certification under the TCPA, in part, because the proposed
24   class failed to satisfy the typicality requirements because each potential plaintiff must prove
25
     whether it consented to receive the transmission in question).
26

27
28
                                                              18
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 19 of 27




1                          D.      Adequacy

2                   This Court cannot certify a class action unless it is convinced “the representative parties will
3    fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4)8.
4
                    Plaintiff is not an appropriate class representative because he did not pay for his own
5
     cellular telephone service. Plaintiff’s phone bill was paid by his employer, who claims it as a
6
     business expense for tax purposes. Kristensen Dep. 42:20-43:1 (Exhibit 6). Accordingly, his
7
     employer is the party with standing to bring the suit.
8
                    Plaintiff’s approach to the discovery process also demonstrates that he is an inadequate
9
10   representative of a voluminous putative class. Defendants have sought, several times, to obtain

11   copies of Plaintiff’s December 2011 phone bill, but have been informed by Plaintiff’s counsel that

12   such bills are unavailable.9 However, at his deposition, Plaintiff revealed he does possess “the
13   summaries of the phone bills” “going back to October of 2010.” Kristensen Dep. at 142:6-13
14
     (Exhibit 6). Upon first learning of the summary telephone bills’ existence, Pioneer requested their
15
     production during the deposition. Kristensen Dep. at 143:21-144:6 (Exhibit 6). Plaintiff agreed to
16
     at least produce the summary telephone bill for December 2011. Kristensen Dep. at 144:3-6
17
     (Exhibit 6). Ten days later (and three and one-half months after the first request), Plaintiff has
18
     produced no telephone bills and no telephone bill summaries.
19
20
      8
21      Rule 23(a)(4) applies to both the adequacy of class counsel and the adequacy of the class representative. Defendants
      raise no objection to the appointment of the Edelson firm as class counsel, should the Court elect to certify the class.
22    9
        On October 17, 2013, Pioneer requested Plaintiff’s telephone bills. (Exhibit 15, Plaintiff Flemming Kristensen's
23    Responses to Defendant Pioneer Services' First Set of Requests for Production, dated November 19, 2013, Request No.
      12). On November 19, 2013, Plaintiff objected because, among other reasons, “the documents sought are not within
24    his possession,” but he would “subpoena his wireless carrier.” (Exhibit 15, Response to Request No. 12). Plaintiff’s
      counsel then, during the course of one meet-and-confer teleconference and several exchanged letters, refused to
25    produce more than a single month of telephone bills for only one telephone, relying solely on his unilateral claim of
      relevance. Moreover, on January 15, 2014, Plaintiff’s counsel blamed AT&T for the delay in producing these
26    telephone bills stating: “In my experience, cell phone carriers usually take several months to process subpoena
      requests and produce documents. Of course, we will forward you any records as soon as we receive them.” (Exhibit
27    16, at 2).

28
                                                                19
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 20 of 27




1                   Access to this information and to Plaintiff’s devices is crucial to determining whether

2    Plaintiff consented to receiving the text message. Plaintiff estimates 30% of all goods he purchased
3    in 2011 were purchased online. Kristensen Dep. 27:4-9 (Exhibit 6). In nearly every instance in
4
     which a consumer makes a purchase online, the consumer is asked whether they consent to
5
     receiving communications from the seller and/or its affiliates, and the consumer is instructed to
6
     check, or uncheck, the appropriate box according to their wishes. Plaintiff himself acknowledges
7
     that he may have mistakenly clicked, or forgotten to unclick, a box during the checkout process and
8
     thus opted-in to receiving text messages. See Kristensen Dep. 28:4-9 (Exhibit 6). This is supported
9
10   by the fact Plaintiff has received between 15 and 20 other “unsolicited” text messages that are not

11   part of the instant suit. See Kristensen Dep. 49:8-14 (Exhibit 6).

12                  Plaintiff’s counsel has a computer forensics investigator on staff who has the capability to
13   perform forensic searches on laptop and desktop computers and determine, for example, what
14
     websites Plaintiff visited in the weeks and months before he received the text as issue. See Davis
15
     Dep. 14:9 and 24:13-21 (Exhibit 14). Despite having such a resource at their disposal, Plaintiff and
16
     his counsel have failed to perform any such searches for pertinent information on his laptop or
17
     desktop computers, or in his email accounts. Kristensen Dep. 83:7-15 and 148:11-18 (Exhibit 6).
18
     Instead, in responding to discovery requests served by Defendants, Plaintiff simply relied on his
19
20   own belief that he had never opted-in to receiving unsolicited communications. See Kristensen

21   Dep. 83:7-15 (Exhibit 6). As noted above, Plaintiff acknowledged that he may have not opted-out

22   of receiving messages. Accordingly, information on his computer regarding websites he visited in
23   the months and weeks before receiving the message could be crucial in determining whether
24   Plaintiff consented to receiving the text message at issue. In addition, Pioneer has repeatedly asked
25
     Plaintiff to confirm what, if any, of Plaintiff’s electronically-stored information (“ESI”) was
26
     preserved, including any computers or email accounts. In response, Plaintiff has stated that only the
27
28
                                                             20
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 21 of 27




1    iPhone that allegedly received the complained of text message was preserved. Plaintiff suggested

2    that no other ESI has been preserved because Plaintiff had no “reason to believe” other ESI “is
3    potentially relevant to this lawsuit.” (December 17, 2013 letter from John C. Ochoa to James M.
4
     Humphrey, (Exhibit 17), at 3). Plaintiff, however, must have a “reason to believe” other ESI,
5
     including Plaintiff’s email accounts and computer hard drives, are “potentially relevant to this
6
     lawsuit,” because Plaintiff’s own document production, specifically P53 (November 10, 2012 email
7
     from Verify@DonotCall.gov to Flemming Kristensen, P53, Exhibit 18), includes a purported email
8
     exchange between Plaintiff and the National Do Not Call Registry. Moreover, the email was
9
10   printed on November 10, 2012, thus Plaintiff has known about this for at least one year. To

11   Defendants’ knowledge, Plaintiff has still not preserved his other ESI, including email accounts and

12   computers. Also, to Defendants’ knowledge, Plaintiff has not collected, reviewed, or processed any
13   of his ESI – despite the fact that Pioneer has made many such requests, including proposing
14
     potential search terms over one month ago. (December 20, 2013 letter from Robert V. Spake to
15
     John C. Ochoa (Exhibit 19).
16
                    Significantly, in addition to failing to produce such evidence Plaintiff has further thwarted
17
     the discovery process by failing to take steps to preserve information stored on his computer or in
18
     his email accounts. Plaintiff used his desktop and possibly his laptop to make personal purchases
19
20   online in December 2011. Kristensen Dep. 71:4-9 (Exhibit 6). However, Plaintiff replaced his

21   laptop hard drive in early 2012, perhaps after engaging Plaintiff’s counsel to represent him, and

22   discarded the old hard drive. See Kristensen Dep. 167:3-16 (Exhibit 6), and the Client Retainer
23   Agreement between Edelson McGuire, LLC and Flemming Kristensen (P51-P52) (Exhibit 20).
24   While he transferred most of the files to his new hard drive, Plaintiff acknowledges that he did not
25
     transfer cookies, cache files or temporary internet files over to the new hard drive. See Kristensen
26
     Dep. 208:24-209:11 (Exhibit 6). Similarly, Plaintiff has failed to disable the auto-delete function
27
28
                                                             21
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 22 of 27




1    on his email accounts or otherwise preserve information stored in the accounts. See Kristensen

2    Dep. 147:4-9 and 148:19-22 (Exhibit 6). Plaintiff’s failure to cooperate with the discovery process
3    and preserve relevant evidence indicates that he is an improper class representative for the putative
4
     class. This is further demonstrated by Plaintiff’s failure to include Gee, AC Referral, Ferry,
5
     Identity Defender or 360 Data as Defendants in this lawsuit.
6
                    Plaintiff’s Motion for Class Certification should be denied on these bases. Furthermore, the
7
     fact that Plaintiff’s allegation that he did not consent to receive any text message is vastly different
8
     from the evidence presented that putative class members did consent to receive text messages
9
10   further demonstrates that Plaintiff is inadequate to represent the interests of any class that might be

11   certified.

12                         D.     Plaintiff fails to meet the requirements of Federal Rule of Civil
                                  Procedure 23(b).
13
              Even if the Court were to conclude that Plaintiff has satisfied all requirements of Rule 23(a)
14

15   (which is disputed), Plaintiff’s Motion for Class Certification should be denied because Plaintiff

16   cannot meet any requirement for certification under Federal Rule of Civil Procedure 23(b).

17   Plaintiff seeks to certify his class under Rule 23(b)(3) which requires (1) that the questions of law
18   and fact common to members of the class predominate over any questions affecting only
19   individuals, and (2) that the class action mechanism is superior to the other available methods for
20
     the fair and efficient adjudication of the controversy. See Pl. Mot. for Class Certification, Doc. 113,
21
     p. 24.
22
              Rule 23(b)(3) sets forth four factors relevant to determining superiority:
23
                           (A) the class members’ interests in individually controlling the prosecution or
24                         defense of separate actions; (B) the extent and nature of any litigation
25                         concerning the controversy already begun by or against class members; (C)
                           the desirability or undesirability of concentrating the litigation of the claims in
26                         the particular forum; and (D) the difficulties in managing a class action.

27
28
                                                               22
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 23 of 27




1    Fed. R. Civ. P. 23(b)(3)(A)-(D). Consideration of these factors must “focus on the efficiency and

2    economy elements of the class action so that cases allowed under subdivision (b)(3) are those that
3    can be adjudicated most profitably on a representative basis.” Zinser v. Accurix Research Int., Inc.,
4
     253 F.3d 1180,1190 (9th Cir. 2001).
5
              The analysis underlying a motion for certification under Rule 23(b)(3) is rigorous. Courts are
6
     not to grant Rule 23(b)(3) requests for certification carte blanche, rather, Rule 23(b)(3) requires the
7
     Court to take a “close look” at whether common questions predominate over individual inquiries
8
     such that a class action should be certified. Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 615
9
10   (1997).

11                                 1.     Plaintiff cannot demonstrate that questions of fact or law
                                          common to class members predominate over questions affecting
12                                        individual inquiries.
13                  To demonstrate predominance, Plaintiff must show that “questions of law or fact common to
14
     the class members predominate over any question affecting only individual members.” Fed. R. Civ.
15
     P. 23(b)(3)(1).          “Although TCPA cases are not ‘per se unsuitable for class resolution,’ class
16
     certification is warranted only when the ‘unique facts’ of a particular case indicate that individual
17
     adjudication of the pivotal element of prior express consent is unnecessary.” Connelly v. Hilton
18
     Grand Vacations Co., 294 F.R.D. 574, *2 (S.D. Cal. 2013) (quoting Gene & Gene LLC v. BioPay
19
20   LLC, 541 F.3d 318, 326 (5th Cir. 2008)). Thus, predominance in TCPA cases is intrinsically linked

21   to consent issues and commonality. The question of predominance in TCPA cases “primarily turns

22   on whether a class-based trial on the merits could actually be administered.” Id.
23                  In the class Plaintiff seeks to certify, the predominant question is that of consent, which is
24   inherently individualized. As demonstrated above at Section III.B., the individual issue of whether
25
     each putative class member consented to receipt of each text message will predominate over any
26

27
28
                                                              23
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 24 of 27




1    common issues that may exist. Plaintiff’s Motion for Class Certification should be denied on this

2    basis.
3                                 2.      Plaintiff cannot demonstrate that the class action mechanism is
4                                         superior to other available methods for adjudicating the TCPA
                                          claims asserted by Plaintiff.
5
                    To certify a class, this Court must be convinced that “a class action is superior to other
6
     available methods for fairly and efficiently adjudicating the controversy.”                  Fed. R. Civ. P.
7
     23(b)(3)(2). Small claims court, not federal district court, is the superior method for adjudicating
8
     the TCPA claims asserted by Plaintiff. The TCPA permits statutory damages of $500 per incident
9
10   for negligent conduct and up to $1,500 per incident for willful behavior. See 47 U.S.C. § 227(b)(3).

11   This is more than sufficient incentive for TCPA plaintiffs to individually bring their suits in small

12   claims court. TCPA’s legislative history indicates that Congress expressly intended TCPA actions
13   to be brought in state small claims court - not in federal district courts as class actions.
14
                           The […] private right-of-action provision […] will make it easier for
15                         consumers to recover damages from receiving these computerized calls.
                           The provision would allow consumers to bring an action in State court
16                         against any entity that violates the bill […] It is my hope that states will
17                         make it as easy as possible for consumers to bring such actions,
                           preferably in small claims court.
18
     137 Cong. Rec. S16205-06 (Nov. 7, 1991). See also Kim v. Sussman, No. 03 CH 07663 2004 WL
19
20   3135348 (Ill. Cir. Ct. 2004) (denying class certification because “[t]o engraft on this statutory

21   scheme the possibility of private class actions, with potential recoveries in the millions of dollars,

22   strikes the Court as unfair given the nature of the harm Congress attempted to redress in the
23   TCPA.”). Further, “by imposing a statutory award of $500, a sum considerably in excess of any
24
     real or sustained damages, Congress has presented an aggrieved party with an incentive to act in his
25
     or her own interest without the necessity of class action relief.” Local Baking Prods., Inc. v. Kosher
26
     Bagel Munch, Inc., 421 N.J. Super. 268, 23 A.3d 469, 476 (N.J. Super Ct. App. Div. 2011). In
27
28
                                                               24
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 25 of 27




1    many states, consumers do not need an attorney to file a small claims complaint, such actions

2    appear quickly before a judge, and the costs of litigation are significantly less than the potential
3    recovery. See, e.g. id at. 476-77 (examining New Jersey’s procedures and finding that small claims
4
     action could be brought and significantly less than $500).             This Court should deny Plaintiff’s
5
     Motion for Class Certification, as a class action is not the superior method for adjudicating
6
     Plaintiff’s claims.
7
                    IV.    Conclusion
8
                    For the foregoing reasons, Defendants respectfully request the Court deny Plaintiff’s Motion
9
10   for Class Certification and grant Defendants other just relief.

11

12   DATED: January 31, 2014                             DENTONS US LLP

13                                                              /s/ Gregory T. Wolf
                                                         Steven Aaron, Esq. (pro hac vice) MO Bar # 41653
14                                                       Gregory T. Wolf, Esq. (pro hac vice) MO Bar #43717
                                                         4520 Main Street, 11th Floor
15                                                       Kansas City, MO 64111-7100
16
                                                         LAW OFFICE OF HAYES & WELSH
17
                                                                /s/ Martin L. Welsh
18                                                       Martin L. Welsh, Esq.
                                                         Nevada State Bar No. 8720
19                                                       199 North Arroyo Grande Blvd., Suite 200
                                                         Henderson, Nevada 89074
20                                                       Attorneys for Defendant
                                                         Credit Payment Services, Inc.
21

22                                                       POLSINELLI PC

23                                                              /s/ Russell S. Jones, Jr.
                                                         Russell S. Jones, Jr. (Pro hac vice)
24                                                       James M. Humphrey, IV (Pro hac vice)
                                                         900 W. 48th Place, Suite 900
25                                                       Kansas City, MO 64112
26

27
28
                                                             25
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 26 of 27




1                                      SNELL & WILMER, L.L.P.

2                                             /s/ Chad R. Fears
                                       Chad R. Fears, Esq., Nevada Bar No. 6970
3                                      3883 Howard Hughes Parkway, Suite 1100
                                       Las Vegas, NV 89169
4
                                       Attorneys for Defendant Pioneer Services
5
                                       HUSCH BLACKWELL LLP
6
                                              /s/ Ryan W. Mitchem
7                                      Ryan W. Mitchem, TN #022196
                                       Michael K. Alston, TN #013697
8                                      736 Georgia Avenue, Suite 300
                                       Chattanooga, Tennessee 37402
9
10                                     HUTCHISON & STEFFEN
                                       Patricia Lee, Nevada Bar No. 8287
11                                     Joseph R. Ganley, Nevada Bar No. 5643
                                       Telia U. Williams, Nevada Bar No. 9359
12                                     Peccole Professional Park
                                       10080 West Alta Drive, Suite 200
13                                     Las Vegas, Nevada 89145
14
                                       Attorneys for Defendant LeadPile LLC
15
                                       MCGUIRE WOODS LLP
16
                                       By: /s/ Brian O’Meara
17                                        Brian O’Meara, IL #6275625
                                          77 West Wacker Drive, Suite 4100
18                                        Chicago, IL 60601-1818
                                          Telephone: 312-849-8100
19                                        Facsimile: 312-920-6132
                                          bomeara@mcguirewoods.com
20

21                                     LEWIS ROCA ROTHGERBER LLP

22                                     By: /s/ Dan R. Waite
                                          Dan R. Waite, NV #4078
23                                        3993 Howard Hughes Parkway, Ste. 600
                                          Las Vegas, NV 89169
24                                        Telephone: 702-949-8200
                                          Facsimile: 702-949-8398
25                                        dwaite@lrlaw.com
26
                                       Attorneys for Defendant Enova International, Inc.
27
28
                                          26
     81825678\V-1
     Case 2:12-cv-00528-APG-PAL Document 148 Filed 01/31/14 Page 27 of 27




1

2                                          CERTIFICATE OF SERVICE
3                   Pursuant to FRCP 5(b), I certify that on January 31, 2014, I caused the above and
4       foregoing document entitled DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR
5
        CLASS CERTIFICATION to be served on all counsel of record through the Court’s CM/ECF
6
        system.
7

8
                                                     /s/ Steven Martin Aaron
9                                                    An attorney for Credit Payment Services, Inc.
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26

27
28
                                                         27
     81825678\V-1
